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October 25, 2018                                                           JENNIFER E. SCHLATTER
                                                                     jschlatter@allen-vellone.com


SERVED VIA ECF/CM FILING SYSTEM

Clerk of Court
US District Court for the District of Colorado
901 19th St.
Room A-105
Denver, CO 80294

Re:      Mark Wilson, et al. v. AdvisorLaw, LLC, et al., Civil Action No. 17-cv-01525-
         MSK.

                                  HEARING ON BILL OF COSTS

Dear Sir:

       Filed herewith is Defendants AdvisorLaw, LLC’s and Dochtor Kennedy’s Bill of
Costs in conjunction with the above-referenced action. In accordance with the
procedures for the hearing on taxation of costs, counsel for Plaintiffs and Defendants wish
to appear telephonically at the hearing on Thursday, November 1, 2018 at 9:30 a.m.,
which date is requested in the form Bill of Costs. The attorneys who will be representing
the parties at the hearing, along with their contact information, are as follows:

       On behalf of Plaintiffs: Alexandra Tracy-Ramirez with the law firm HopkinsWay,
       PLLC. Main office telephone number is (602) 714-7172 and direct telephone
       number is (520) 743-0706.

       On behalf of Defendants: Jennifer E. Schlatter with the law firm Allen Vellone Wolf
       Helfrich & Factor, P.C. Main office telephone number is (303) 534-4499 and direct
       telephone number is (720) 245-2424.

                                                 Very truly yours,

                                                 Allen Vellone Wolf Helfrich & Factor P.C.



                                                 Jennifer E. Schlatter



               1600 STOUT STREET • SUITE 1100 • DENVER, CO 80202 • T 303.534.4499
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Attachment
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 17-cv-01525-MSK

MARK WILSON, an individual, and WILSON LAW LTD, a Colorado limited liability company,

       Plaintiffs,

       v.

ADVISORLAW LLC, a Colorado limited liability company, DOCHTOR DANIEL KENNEDY,
an individual, and STACY SANTMYER, an individual,

       Defendants.


                                ATTACHMENT A TO BILL OF COSTS


       1.      On October 11, 2018, the Court entered its Final Judgment in favor of Defendants

AdvisorLaw, LLC and Docthor Kennedy on Plaintiffs’ Lanham Act Claim [Dkt. # 75]. The Court

further ordered that costs are awarded to Defendants in accordance with Fed. R. Civ. P. 54(d)(1)

and D.C.COLO.LCivR 54.1. (Id.)

       2.      Defendants seek the amount of $4,329.20, which costs were incident to the taking

of depositions. Defendants seek taxation for transcription costs associated with depositions that

were utilized by the parties and the Court in conjunction with Plaintiffs’ Motion for Summary

Judgment [Dkt. # 62], the Defendants’ response [Dkt. #70], and Plaintiffs’ reply [Dkt. #74]; and

Defendants’ Motion for Summary Judgment [Dkt. # 63], Plaintiffs’ response [Dkt. #71], and

Defendants’ reply [Dkt. #73].

       3.      Included herewith are copies of invoices from the court reporters for such

transcription costs. The total amount for the invoices is $4,798.70.




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        4.       Prior to the filing of the within Bill of Costs, counsel for the parties conferred

regarding the costs sought by Defendants. As a result of the conferral, Defendants agreed to the

removal of costs associated with expedited copies of the transcripts as follows: Invoice No.

215808 in the amount of $213.50 and Invoice No. 21581 in the amount of $256.00.1 The parties

were unable to resolve the remaining disputes. See email exchange between Ms. Tracy-Ramirez

and Ms. Schlatter attached hereto as Exhibit 1.

        5.       Defendants seek a total of $4,329.20 in costs.




1
  Defendants agreed to the removal of the costs because the expedited costs were not necessary for an impending
deadline which would have necessitated such expedition. See, e.g., Tomlinson v. El Paso Corp., 04-CV-02686-WDM-
MEH, 2011 WL 2297661, at *2 (D. Colo. June 9, 2011), and Fitchett v. Stroehman Bakeries, Inc., 1996 WL 47977,
at *5 (E.D.Pa.1996).

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Jennifer E. Schlatter

From:                              Jennifer E. Schlatter
Sent:                              Wednesday, October 24, 2018 2:22 PM
To:                                'Alexandra Tracy-Ramirez'
Cc:                                Ed Hopkins; Jim Helfrich; Jordan Factor; Administrator HopkinsWay
Subject:                           RE: Wilson v. AdvisorLaw - Bill of Costs


Alexandra:

We have reviewed your objections and will agree to remove the costs for the expedited transcripts and the
PACER costs (for a total of $616.90). Therefore, we will seek a total of $4,329.2. With regard to the
“Additional Hours,” the invoice identifies: 1 hour for set up and 1 hour of videotaping then 2.5 additional
hours. I contacted Stevens Koenig and am informed that the first charge is for setup and the first hour of
videotaping and then there is an hourly charge after that. In other words, after the first hour of set-up and
videotaping at a cost of $290.00, there was an additional 2.5 hours of video deposition at a cost of $237.50
(the deposition was a little over 3 hours long). Therefore, we will not agree to removal of that charge. If you
have additional questions regarding the charges, you should contact Stevens Koenig. We will not agree to the
removal of the remaining items on your list.

If you maintain your other objections, please let me know your availability over the next couple weeks (any
Tuesday, Wednesday or Thursday at 8:30, 9:00 or 9:30) for the hearing in front of the Clerk so that I may put
the date and time in the Bill of Costs.

Contact me if you wish to discuss further. Thank you.

Very truly,

Jennifer E. Schlatter
Attorney At Law
Allen Vellone Wolf Helfrich & Factor P.C.
1600 Stout Street, Suite 1100
Denver, CO 80202

jschlatter@allen-vellone.com
www.allen-vellone.com

(720) 245-2424 | Direct
(303) 534-4499 | Main
(303) 893-8332 | Fax

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tax advice contained in this communication, including any attachments, is not intended to be used, and cannot be used,
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recommending to another person any tax-related matter. Contact Allen Vellone Wolf Helfrich & Factor P.C. for formal
written advice on this matter.

                                                             1


                                                        EXHIBIT 1
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From: Alexandra Tracy-Ramirez <atracyramirez@hopkinsway.com>
Sent: Wednesday, October 24, 2018 12:44 PM
To: Jennifer E. Schlatter <JSchlatter@allen-vellone.com>
Cc: Ed Hopkins <ehopkins@hopkinsway.com>; Jim Helfrich <JHelfrich@allen-vellone.com>; Jordan Factor
<JFactor@allen-vellone.com>; Administrator HopkinsWay <admin@hopkinsway.com>
Subject: Re: Wilson v. AdvisorLaw - Bill of Costs

Hi everyone,
We reviewed the proposed bill of costs you intend to submit in light of Judge Krieger’s order awarding costs to
the Defendants. We disagree with the Court’s decision to award costs because the Defendant prevailed only
on the federal claim; there was no judgment or motion for judgment on the Plaintiffs’ defamation claims; and
the Court did not decide the merits of the other state claims but instead declined to exercise supplemental
jurisdiction. All that said, we agree that many of the costs listed in the draft bill are allowable and reasonable.
We do have objections or questions about others, though, and the disputed costs fall into two groups.
The first category is costs that are possibly reasonable but we don’t have enough information to know. Those
costs are:
Invoice 215808

   •   4 day expedited copy of transcript $213.50

Invoice 215864

   •   “Additional Hours” unspecified $237.50

Invoice 215810

   •   3 day expedited transcript $256.00

Unspecified PACER

   •   $147.40


Please either remove these costs from the bill or provide more information on why expedited transcripts were
necessary, what services were provided through “additional hours” or how those hours were necessary, and to
the extent you can, information on what the PACER charges relate to.
The rest of the disputed costs are costs we do not believe are allowable in this matter either because they
aren’t permitted costs under any relevant sections of the U.S. Code or because the expense isn’t reasonable
or necessary.
Those costs are ones associated with convenience services provided by the reporting staff such as redaction
services, pdf/document conversion services, “litigation support” services, and creating notebooks. They are:
Invoice 215687

   •   Redaction $150.00
   •   OCR of Scans $.35
   •   Binding/Prepping Copy $.55


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Invoice 215501

    •   Copying and Binding $2.25
    •   OCR of Scans $3.15

Invoice 215339

    •   Litigation Support Conversion/Hyperlinking $47.50
    •   OCR Scans $22.40

Invoice 215864

    •   Redaction $150.00
    •   OCR Scans $71.40
    •   Litigation Support/Hyperlinking $47.50
    •   Binding/Prep Notebook $22.50
    •   Binding/Prep Notebook $62.70

If both groups of costs are removed from the totals requested, the Plaintiffs will stipulate to the remaining costs.
Otherwise, we can continue to discuss the disputes if that would be productive or let the clerk know some costs
are disputed after we agree on hearing dates.
Thank you,



Alexandra Tracy-Ramirez

Attorney & Counselor at Law
Title IX
| Defamation | Privacy
atracyramirez@hopkinsway.com
 |
hopkinsway.com
-
15 Reasons to Call Us
-
HopkinsWay PLLC (Phoenix Office)
4600 E Washington St, Ste 300
Phoenix AZ 85034
(602) 714-7172 tel
(602) 714-7173 fax
-
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you have received this transmission in error, please reply that you have received it mistakenly, and destroy the original email
and any attachments. Thank you.


On Tue, Oct 23, 2018 at 3:42 PM Jennifer E. Schlatter <JSchlatter@allen-vellone.com> wrote:

 Thank you. And I also misspoke regarding the procedure for a hearing. If you do have objections, then after
 filing the Bill of Costs, counsel chooses a date that we wish to schedule the hearing with the Clerk. We
 choose any Tuesday, Wednesday or Thursday at 8:30, 9:00 or 9:30 that works on our calendars. And if the
 date we choose does not work for the Clerk, then they contact us for a new date/time.



                                                                3
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Very truly,

Jennifer E. Schlatter
Attorney At Law
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for purposes of avoiding penalties imposed under the United States Internal Revenue Code or promoting, marketing or
recommending to another person any tax-related matter. Contact Allen Vellone Wolf Helfrich & Factor P.C. for formal
written advice on this matter.



From: Ed Hopkins <ehopkins@hopkinsway.com>
Sent: Tuesday, October 23, 2018 4:39 PM
To: Jennifer E. Schlatter <JSchlatter@allen-vellone.com>
Cc: Jim Helfrich <JHelfrich@allen-vellone.com>; Jordan Factor <JFactor@allen-vellone.com>; Administrator
HopkinsWay <admin@hopkinsway.com>; Alexandra Tracy-Ramirez <atracyramirez@hopkinsway.com>
Subject: Re: Wilson v. AdvisorLaw - Bill of Costs




Jennifer, Jim, and Jordan:



I will let you know my clients' position tomorrow.



Best regards,



                                                          4
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Edward C. Hopkins Jr.

Attorney & Counselor at Law

FIP, CIPM, CIPT, CIPP/US, CIPP/G, CIPP/C, CIPP/E, CIPP/A


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-

15 Reasons to Call Us

-
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Thank you.




On Mon, Oct 22, 2018 at 2:45 PM Jennifer E. Schlatter <JSchlatter@allen-vellone.com> wrote:

    Ed:


    Attached hereto is the Bill of Costs we intend to submit with the Clerk of Court. With regard to the costs
    associated with the taking of depositions, we included only those costs associated with the depositions used
    in conjunction with the Motions for Summary Judgment. Please let me know whether you will be objecting to
    any of the costs. If so, we will contact the clerk of court to obtain a date/time for the hearing. If you do not
    have any objections or we are able to resolve any objections, we can instead file a stipulation.



    Contact me with questions. Thank you.



    Very truly,

    Jennifer E. Schlatter
    Attorney At Law
    Allen Vellone Wolf Helfrich & Factor P.C.

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